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                                                                     ID:26246628




                United States Court of Appeals
                                  For the First Circuit
                                      _____________________

No. 19-1291

                                          LEE HUTCHINS

                                         Plaintiff - Appellee

                                                  v.

        DANIEL J. MCKAY; FELIX M. ROMERO; THOMAS HERVIEUX; CITY OF
                                SPRINGFIELD

                                       Defendants - Appellants
                                       __________________
                                       ORDER OF COURT

                                      Entered: April 12, 2019
                                   Pursuant to 1st Cir. R. 27.0(d)

       This court has docketed defendants-appellants Daniel J. McKay, Felix M. Romero, Thomas
Hervieux and the City of Springfield's notice of appeal (D.E. No. 184), from the February 19, 2019
judgment in No. 3:16-cv-30008-NMG (D. Mass.), as appeal no. 19-1291. On March 19, 2019,
defendants filed a motion for judgment as a matter of law or in the alternative to alter or amend
judgment (D.E. No. 179), and a motion for new trial (D.E. No. 181), and those motions remain
pending in the district court. Pursuant to Fed. R. App. P. 4 (a)(4)(A), the notice of appeal does not
become effective until the district court disposes of the post-judgment motions.

         Therefore, appellants are directed to file a status report by May 13, 2019 and at thirty day
intervals thereafter, informing this court of any action taken by the district court on the post-
judgment motions. Further, the appellants are directed to inform this court whether they intend to
file a notice of appeal or amended notice of appeal from the district court=s post-judgment order(s).
See Fed. R. App. P. 4(a)(4)(B). While appellants are encouraged to proceed with ordering all
necessary transcripts to pursue this appeal, the time to file a transcript order form is enlarged to 10
days after the district court disposes of the above-mentioned motions. See Fed. R. App. P.
10(b)(1).

       Failure to comply with this order may lead to dismissal of this appeal for lack of diligent
prosecution. 1st Cir. R. 3.0(b).

         Once the district court rules on the pending motions, it is directed to forward its decision(s)
to this court forthwith.
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                                                     By the Court:

                                                     Maria R. Hamilton, Clerk


cc:
Hon. Nathaniel M. Gorton
Robert Farrell, Clerk, United States District Court for the District of Massachusetts
Kathleen E. Sheehan
Lisa Caryl deSousa
Jeremy Saint Laurent
Kevin Barry Coyle
David P. Hoose
Luke S. Ryan
